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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Attorneys for the Debtors

In re:                                                    Case No. 08-14631 (GMB)
                                                          (Jointly Administered)
SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                          Judge: Gloria M. Burns
                Debtors.
                                                          Chapter: 11



               Recommended Local Form:               Followed            Modified


         ORDER AUTHORIZING RETENTION OF NATCITY INVESTMENTS, INC.
          AS SALES CONSULTANT/INVESTMENT BANKER FOR THE DEBTORS

         The relief set forth on the following pages, numbered two (2) through three (3) is hereby
         ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-14631(GMB)

Order Authorizing Retention of NatCity Investments, Inc. as Sales Consultant/Investment Banker for the Debtors


In re:           Shapes/Arch Holdings L.L.C., et al.
Case No.:        08-14631 (GMB)
Applicant:       Shapes/Arch Holdings L.L.C., et al.

                  Trustee:                   Chap. 7                Chap. 11                  Chap. 13

                  Debtors:                   Chap. 11               Chap. 13

                  Official Committee of

Name of Professional:                 NatCity Investments, Inc.
Address of Professional:              300 Barr Harbor Drive
                                      West Conshohocken, PA 19428


          Attorney for:               Trustee               Debtors-in-Possession

                                       Official Committee of

          Accountant for:             Trustee               Debtor-in-Possession

                                       Official Committee of

          Other Professional:

                                       Realtor      Appraiser                Special Counsel

                                       Auctioneer  Other (specify):sales consultant/investment
banker to the Debtors

         Upon the applicants’ request for authorization to retain the professional named above,

         It is hereby ORDERED as follows:

         1.      The applicants, Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C.,

Accu-Weld L.L.C. and Ultra L.L.C., are authorized to retain the above party in the professional

capacity noted.

         2.      Compensation shall be paid in such amounts as set forth in the application.




                                                        2
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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-14631(GMB)

Order Authorizing Retention of NatCity Investments, Inc. as Sales Consultant/Investment Banker for the Debtors


         3.      The effective date of the retention is May 7, 2008.


         4.      The indemnification provision contained in the Engagement Letter is subject to

the following terms and conditions:

                 if, before the entry of an order closing these Chapter 11 cases,
                 NatCity believes that it is entitled to the payment of any amounts
                 from the Debtors’ estates on account of the indemnification,
                 contribution and/or reimbursement obligations under the
                 Engagement Letter including, without limitation, the advancement
                 of defense costs, NatCity must file an application therefor in, and
                 with, the Court, and the Debtors may not pay any such amounts to
                 NatCity before the entry of an order by the Court approving
                 payment. The United States Trustee, the Debtors, the Official
                 Committee of Unsecured Creditors, and any other creditors or
                 parties-in-interest shall retain the right to object to whether the
                 amount requested is consistent with the indemnity provision in the
                 Engagement Letter, as modified by any order of the Court, and the
                 amount actually requested is a reasonable amount under the
                 circumstances of the case giving rise to the indemnity claim.




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